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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

                                           §
DILLON MYRICK,                             §
                                           §
      Plaintiff,                           §
                                           §
v.                                         §
                                                     Case No. 6:22-cv-484-JDK
                                           §
ADAPTHEALTH LLC and HOME                   §
MEDICAL EXPRESS, INC.,                     §
                                           §
      Defendants.                          §
                                           §

                    ORDER DENYING MOTION TO STRIKE

      Before the Court is Defendants AdaptHealth and Home Medical Express’s

motion to strike Plaintiff Dillon Myrick’s motion for class certification. Docket No. 56.

The Court DENIES the motion.          The Court will consider the timeliness issue

alongside the merits of the class-certification question. The Court LIFTS the stay on

the briefing of the motion for class certification and ORDERS that Defendants’

response to the motion for class certification (Docket No. 55) is due by

November 1, 2024. All further briefing shall comply with Local Rule CV-7.

       So ORDERED and SIGNED this 18th day of October, 2024.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE
